Case 3:16-cv-00081-RLY-MPB Document 134 Filed 09/22/17 Page 1 of 2 PageID #: 1089



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

  SOUTHERN INDIANA TIRE INC.,                   )
  d/b/a BEST-ONE TIRE & SERVICE OF              )
  PRINCETON, INC.,                              )
                                                )
              Plaintiff,                        )
                                                )
  VS.                                           )
                                                )
  JOSHUA W. EADEN, JUSTIN PHARRIS,              )
  DARRIN TICHENOR, AARON (SHANE)                )   CASE NO. 3:16-cv-00081-RLY-MPB
  STAFFORD, JACK PICKETT,                       )
  J&J TIRE AND SERVICE LLC,                     )
  SOUTH GIBSON GRAIN, LLC,                      )
  TICHENOR FARMS TRUCKING, LLC,                 )
  and SLONE TREE SERVICE, LLC,                  )
                                                )
              Defendants.                       )

                                           ORDER


        This matter is before the Court upon the Stipulation to Dismiss Defendant, Slone

  Tree Service, LLC, Without Prejudice.

        IT IS, THEREFORE, ORDERED that Plaintiff’s Verified Complaint for Damages,

  Injunctive Relief, and Replevin is dismissed as to and only against Defendant, Slone

  Tree Service, LLC, without prejudice, and each party to bear their own cost. Plaintiff’s

  Verified Complaint for Damages, Injunctive Relief, and Replevin and the remaining

  causes of action therein are to continue against the remaining Defendants, Joshua W.

  Eaden, Justin Pharris, Darrin Tichenor, Aaron (Shane) Stafford, Jack Pickett, J&J Tire

  and Service LLC, South Gibson Grain, LLC, and Tichenor Farms Trucking, LLC.




        9/22/2017
Case 3:16-cv-00081-RLY-MPB Document 134 Filed 09/22/17 Page 2 of 2 PageID #: 1090



        ORDERED this _____ day of ________________, 2017.




                                           _____________________________________
                                           Judge, United States District Court
                                           Southern District of Indiana
                                           Evansville Division


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